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           EXHIBIT 8
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1                  UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                     SAN FRANCISCO DIVISION
4    - - - - - - - - - - - - - - x
5    MAXIMILIAN KLEIN, et al.,          :
6    on behalf of themselves            :
7    and all others similarly           :
8    situated,                          :
9                     Plaintiffs,       :
10      v.                              : Case No.
11   META PLATFORMS, INC., a            : 3:20-cv-08570-JD
12   Delaware Corporation               :
13   headquartered in                   :
14   California,                        :
15                         Defendant.   :
16   - - - - - - - - - - - - - - x
17       Videotaped Deposition of JOSHUA GANS, Ph.D.
18                 Conducted virtually via Zoom
19                  Tuesday, September 26, 2023
20                           10:11 a.m. EST
21
22   Job No.:     503845
23   Pages:     1 - 337
24   Reported by:     THERESA A. VORKAPIC,
25                    CSR, RMR, CRR, RPR
                                                                                        Transcript of Joshua Gans, Ph.D.
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                                                                                        Conducted on September 26, 2023     2

                                                                  1
                                                                  2
                                                                  3          Videotaped deposition of Joshua Gans, Ph.D.,
                                                                  4    conducted virtually via Zoom, pursuant to notice
                                                                  5    before Theresa A. Vorkapic, a Certified Shorthand
                                                                  6    Reporter, Registered Merit Reporter, Certified
                                                                  7    Realtime Reporter, Registered Professional
                                                                  8    Reporter and a Notary Public in and for the State
                                                                  9    of Illinois.
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                                                                                           Conducted on September 26, 2023    3

                                                                  1                   A P P E A R A N C E S
                                                                  2    ON BEHALF OF THE ADVERTISER PLAINTIFFS:
                                                                  3         PRISCILLA GHITA, ESQUIRE
                                                                  4         YAVAR BATHAEE, ESQUIRE
                                                                  5         ANDREW C. WOLINSKY, ESQUIRE
                                                                  6         BATHAEE DUNNE LLP
                                                                  7         445 Park Avenue, 9th Floor
                                                                  8         New York, New York 10022
                                                                  9         332-322-8835
                                                                  10        pghita@bathaeedunne.com
                                                                  11   ON BEHALF OF THE DEFENDANT:
                                                                  12       DAVID GRINGER, ESQUIRE
                                                                  13       WILMER CUTLER PICKERING HALE AND DORR LLP
                                                                  14       2100 Pennsylvania Avenue NW
                                                                  15       Washington, DC 20037
                                                                  16       212-230-8864
                                                                  17       david.gringer@wilmerhale.com
                                                                  18            and
                                                                  19       ERIN HUGHES, ESQUIRE
                                                                  20       OLIVIA P. GREENE, ESQUIRE
                                                                  21       PAUL VANDERSLICE, ESQUIRE
                                                                  22       WILMER CUTLER PICKERING HALE AND DORR LLP
                                                                  23       250 Greenwich Street, 7 World Trade Center
                                                                  24       New York, New York 10007
                                                                  25       212-295-6284 erin.hughes@wilmerhale.com


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                                                                  1        Q   You don't think any of the challenged                  12:19:03
                                                                  2    conduct allowed Meta to offer better data                      12:19:05
                                                                  3    targeting in its advertisements?                               12:19:07
                                                                  4            MS. GHITA:     Objection to form.                      12:19:11
                                                                  5    BY THE WITNESS:                                                12:19:12
                                                                  6        A   I think all of the challenged conduct may              12:19:12
                                                                  7    well have allowed that.                                        12:19:14
                                                                  8    BY MR. GRINGER:                                                12:19:24
                                                                  9        Q   You understand that all ads served by Meta             12:19:26
                                                                  10   are part of the social advertising market?                     12:19:28
                                                                  11       A   I have not done any analysis where all ads             12:19:37
                                                                  12   are part of the social advertising market because              12:19:40
                                                                  13   I have not, for instance, analyzed the number of               12:19:44
                                                                  14   people who are on Facebook, for instance, who have             12:19:47
                                                                  15   no friends.                                                    12:19:54
                                                                  16       Q   Are ads that target purely on age and                  12:19:57
                                                                  17   location data on social connections between users?             12:20:00
                                                                  18           MS. GHITA:     Objection to form.                      12:20:04
                                                                  19           THE WITNESS:      Just a second.      You might        12:20:08
                                                                  20   have to repeat.      I got a message that I wasn't             12:20:09
                                                                  21   being loud enough, that I've been lulled into too              12:20:11
                                                                  22   soft a voice.     I'll move my microphone closer.              12:20:17
                                                                  23           Can you repeat that question?                          12:20:22
                                                                  24   BY MR. GRINGER:                                                12:20:23
                                                                  25       Q   Where did you get the message that you                 12:20:23


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                                                                  1    weren't being loud enough?                                     12:20:24
                                                                  2        A     I was on the chat here from Michelle.                12:20:25
                                                                  3              MR. GRINGER:      Michelle, please make sure         12:20:34
                                                                  4    your posts to the witness are visible to everyone.             12:20:37
                                                                  5    BY MR. GRINGER:
                                                                  6        Q     Are ads that target purely on age and                12:20:48
                                                                  7    location ads that use data on social connections               12:20:50
                                                                  8    between users?                                                 12:20:53
                                                                  9              MS. GHITA:     Objection to form.                    12:20:54
                                                                  10   BY THE WITNESS:                                                12:20:55
                                                                  11       A     No.                                                  12:20:56
                                                                  12             MR. GRINGER:      We've been going for an            12:21:01
                                                                  13   hour.     Would it be a good time to break?                    12:21:03
                                                                  14             MS. GHITA:     Dr. Gans, are you wanting to          12:21:06
                                                                  15   take a lunch break now or just a short break?                  12:21:07
                                                                  16   It's 12:20 Eastern.                                            12:21:11
                                                                  17             MR. GRINGER:      Let's go off the record so         12:21:13
                                                                  18   we don't have to discuss lunch preferences on the              12:21:16
                                                                  19   record.                                                        12:21:18
                                                                  20             THE VIDEOGRAPHER:       We are going off the         12:21:18
                                                                  21   record.     The time is now 12:21 p.m.                         12:21:20
                                                                  22             (A lunch recess was had from 12:21 p.m. to
                                                                  23             1:09 p.m. EST)                                       12:21:25
                                                                  24
                                                                  25


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                                                                  1               A F T E R N O O N       S E S S I O N                 13:09:51
                                                                  2              THE VIDEOGRAPHER:       We're going back on the        13:09:51
                                                                  3    record.     The time is now 1:09 p.m.         Please             13:09:52
                                                                  4    continue.                                                        13:09:55
                                                                  5                   JOSHUA GANS,
                                                                  6    called as a witness herein, having been previously
                                                                  7    duly sworn and having testified, was examined and
                                                                  8    testified further as follows:
                                                                  9                   EXAMINATION (Resumed)                             13:10:02
                                                                  10   BY MR. GRINGER:                                                  13:10:02
                                                                  11       Q     Professor Gans, in your view is it                     13:10:02
                                                                  12   possible to answer the question of whether the                   13:10:05
                                                                  13   challenged conduct caused a common impact on the                 13:10:07
                                                                  14   putative class using empirical economic analysis?                13:10:12
                                                                  15             MS. GHITA:     Objection to form.                      13:10:19
                                                                  16   BY THE WITNESS:                                                  13:10:27
                                                                  17       A     If you take my definition of empirical                 13:10:28
                                                                  18   that I outlined to you earlier, then what we                     13:10:31
                                                                  19   regard as empirical evidence is what we would                    13:10:36
                                                                  20   regard as evidence, evidence that was found by a                 13:10:39
                                                                  21   factfinder or evidence that was contained in                     13:10:43
                                                                  22   documents or evidence that required the analysis                 13:10:45
                                                                  23   of data.     We use the economic lens to guide us                13:10:47
                                                                  24   into the assumptions and other things that we                    13:10:56
                                                                  25   would use to draw inferences from, but ultimately                13:10:59


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                                                                  1       CERTIFICATE OF COURT REPORTER - NOTARY PUBLIC
                                                                  2
                                                                  3           I, Theresa A. Vorkapic, Certified
                                                                  4    Shorthand Reporter No. 084-2589, CSR, RMR, CRR,
                                                                  5    RPR, and a Notary Public in and for the County of
                                                                  6    Kane, State of Illinois, the officer before whom
                                                                  7    the foregoing deposition was taken, do hereby
                                                                  8    certify that the foregoing transcript is a true
                                                                  9    and correct record of the testimony given; that
                                                                  10   said testimony was taken by me and thereafter
                                                                  11   reduced to typewriting under my direction; that
                                                                  12   reading and signing was not requested; and that I
                                                                  13   am neither counsel for, related to, nor employed
                                                                  14   by any of the parties to this case and have no
                                                                  15   interest, financial or otherwise, in its outcome.
                                                                  16           IN WITNESS WHEREOF, I have hereunto set my
                                                                  17   hand and affixed my notarial seal this 29th day of
                                                                  18   March, 2023.
                                                                  19   My commission expires November 6, 2023.
                                                                  20
                                                                  21                    ______________________________
                                                                  22                    THERESA A. VORKAPIC
                                                                  23                    NOTARY PUBLIC IN AND FOR ILLINOIS
                                                                  24
                                                                  25


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